            Case 2:19-mc-00120-RSL Document 11 Filed 09/25/20 Page 1 of 2



 1                                                           The Honorable Robert S. Lasnik
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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     UNITED STATES OF AMERICA,                              NO. 2:19-MC-00120-RSL
11
                              Plaintiff,                            (2:16-CR-0300-1)
12
             vs.                                            Order Terminating
13                                                          Garnishment Proceeding
     AUBREY TAYLOR,
14
              Defendant/Judgment Debtor,
15
           and
16
     KENT POLICE DEPARTMENT,
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                              Garnishee.
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19          This matter came before the Court on the United States’ Application to
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     Terminate Garnishment Proceeding. For the reasons stated in the United
21
     States’ Application, the Court concludes that this Garnishment should be
22
     terminated, pursuant to 28 U.S.C. § 3205(c)(10)(A).
23
24          IT IS ORDERED that the garnishment is terminated and that Kent

25   Police Department, is relieved of further responsibility pursuant to this
26
     garnishment.
27
     //
28


     ORDER TERMINATING GARNISHMENT PROCEEDING                                  UNITED STATES ATTORNEY’S OFFICE
                                                                                700 STEWART STREET, SUITE 5220
     (USA v .Aubrey Taylor and Kent Police Department, USDC#: 2:19-MC-00120-           SEATTLE, WA 98101
     RSL/2:16-CR-03005-1)1                                                             PHONE: 206-553-7970
            Case 2:19-mc-00120-RSL Document 11 Filed 09/25/20 Page 2 of 2



 1          Dated this 25th day of September, 2020.
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 3
                                      JUDGE ROBERT S. LASNIK
 4                                    UNITED STATES DISTRICT COURT JUDGE

 5
 6   Presented by:

 7   s/ Kyle A. Forsyth
     KYLE A. FORSYTH, WSBA # 34609
 8   Assistant United States Attorney
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     ORDER TERMINATING GARNISHMENT PROCEEDING                                  UNITED STATES ATTORNEY’S OFFICE
                                                                                700 STEWART STREET, SUITE 5220
     (USA v .Aubrey Taylor and Kent Police Department, USDC#: 2:19-MC-00120-           SEATTLE, WA 98101
     RSL/2:16-CR-03005-1)2                                                             PHONE: 206-553-7970
